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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW JERSEY

                                             x
                                             :
  KEVIN FRAZIER,                             :    Civil Action No.: 2:10-cv-5398
                                             :
                             Plaintiff,
                                             :             (WJM)(MAS)
                     v.                      :
                                             :
  BED, BATH AND BEYOND, INC. AND GARY : STATEMENT OF MATERIAL FACTS
  NEWTON, in his individual and professional : NOT IN DISPUTE PURSUANT TO
  capacities,                                : LOCAL RULE 56.1
                                             :
                             Defendants.     :
                                             :
                                             x

          Pursuant to Local Rule 56.1(a), defendants Bed Bath and Beyond Inc. and Gary Newton

  (“Defendants”), by and through counsel, submit the following Statement of Material Facts Not in

  Dispute in support of their motion for summary judgment:1

                                                   Background

          1.       Plaintiff Kevin Frazier (“Frazier”) began working for Defendant Bed Bath and

  Beyond Inc. (“BBB”) on May 7, 2007 at its Union, New Jersey corporate office. See Goldstein

  Decl., Ex. B (hereinafter, “Complaint”), ¶ 10.

          2.       Frazier worked in BBB’s Information Technology Department as a Database

  Administrator and was responsible for the Microsoft Sequel database servers. See Complaint at

  ¶ 4; Goldstein Decl., Ex. A (hereinafter, “Frazier Dep.”) at 59:16-19.2

          3.       Frazier’s manager was defendant Gary Newton (“Newton”). See Complaint, ¶ 11.

  1
    This Statement of Material Facts Not in Dispute is based on (i) deposition testimony and exhibits annexed to the
  Declaration of Marvin M. Goldstein, dated September 7, 2012 (“Goldstein Decl.”), (ii) the Declaration of Paul
  DePrima, dated September 6, 2012 (“DePrima Decl.”), and (iii) the Declaration of David Rubin, dated May 7, 2012
  (“Rubin Decl.”).
  2
    For purposes of this motion for summary judgment only, Defendants assume the truth of Frazier’s deposition
  testimony.


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            4.    Newton’s manager was David Ortiz (“Ortiz”). See Complaint, ¶ 11.

                     Frazier Receives Two Emails Which He Thinks Are Funny

            5.    Lisa Del Rey (“Del Rey”) is a Senior Wireless Analyst in BBB’s Information

  Technology Department. See Goldstein Decl., Ex. N (hereinafter, “Del Rey Dep.”), 6:16-18.

            6.    Del Rey was Frazier’s co-worker and was not his supervisor. See Frazier Dep. at

  91:5-7.

            7.    On August 11, 2008, Lisa Del Rey sent an e-mail to Frazier with the subject line

  “WHY-WHY-WHY!!!!” which contained several images of African Americans. See Goldstein

  Decl., Ex. H; Frazier Dep. at 99:2-5.

            8.    Del Rey did not believe that Frazier would be offended by the August 11, 2008

  email because she “knew him” and “had a relationship with him.” See Del Rey Dep. at

  27:20-28:5.

            9.    Robert Aquilino, a co-worker of Frazier and Del Rey, testified that Frazier and

  Del Rey’s relationship was “particularly friendly,” that she and Frazier went out to lunch

  together “approximately once every other week,” and that he, Frazier and Del Rey went on

  fifteen minute group walks around the facility “approximately three, four times a week.” See

  Goldstein Decl., Ex. S (hereinafter, “Aquilino Dep.”) at 20:11-17, 20:25-21:2, 33:9-18.

            10.   Frazier sent Del Rey two email responses to the August 11, 2008 email, which

  stated “I saw this one before, it’s crazy” and “the funny one was uncle peaches..\aunt bob.” See

  Goldstein Decl., Exs. Y, Z.

            11.   Frazier did not report his receipt of the August 11, 2008 email to his supervisor or

  to Human Resources until February 10, 2009, approximately six months after he received it. See

  Frazier Dep. at 98:6-21.



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            12.     David Rubin (“Rubin”) is the owner of Data Futures, an independent database

  consulting business located in or around Boca Raton, Florida. See Goldstein Decl., Ex. R

  (hereinafter, “Rubin Dep.”) at 5:8-23, 9:9-10; Rubin Decl., ¶ 1.

            13.     Data Futures provides maintenance, administration, programming, on-call

  emergency support and general guidance to BBB relative to its Microsoft SQL servers and

  Oracle servers. See Rubin Dep. at 6:7-20; Rubin Decl., ¶ 2.

            14.     David Rubin has never been to BBB’s corporate headquarters in Union,

  New Jersey or any other BBB location. See Rubin Dep. at 9:12-17; Rubin Decl., ¶ 3.

            15.     David Rubin has never met Frazier personally. See Rubin Dep. at 9:23-25.

            16.     On November 4, 2008, Rubin sent an email to Frazier with the subject line

  “Ghetto Spongebob,” which contained a single image of a person, alleged by Frazier to be an

  African American. See Goldstein Decl., Ex. I.

            17.     Eight minutes after receiving the November 4, 2008 email, Frazier replied to

  Rubin, stating: “lmao!!!”3 See Goldstein Decl., Ex. AA.

            18.     Frazier forwarded the Rubin email to his personal email account, referring to it as

  “email from contractor.” See Goldstein Decl., Ex. X.

            19.     On November 5, 2008, Frazier forwarded the November 4, 2008 email to Ortiz,

  stating that at first he thought the e-mail was “funny,” but now found it offensive. See Goldstein

  Decl., Ex. I.

            20.     Shortly after receiving Frazier’s email, Ortiz responded to Frazier’s November 5,

  2008 email, stating that he would speak with Rubin about the inappropriateness of the email and

  instruct Rubin to stop sending e-mails of this nature to anyone at BBB. See Goldstein Decl.,

  Ex. I.
  3
      LMAO is a common internet acronym for “Laughing My Ass Off.”

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          21.     Ortiz called Rubin and told him that the email was “an issue” and that Rubin

  needed to avoid sending any personal material to BBB employees. See Rubin Dep. at 12:7-13:1.

          22.     Rubin “apologized profusely” and indicated that he had sent the email to Frazier

  accidentally. See Goldstein Decl., Ex. I.

          23.     Ortiz immediately emailed Frazier, explaining that Rubin had “apologized

  profusely” for sending the email and that Rubin had “intended th[e] email to go to his sister

  Karen and outlook found [Kevin Frazier’s] name after he put in the letter ‘K’.” See Goldstein

  Decl., Ex. I.

          24.     On February 10, 2009, more than three months after the November 4, 2008 email,

  Frazier reported its receipt to BBB’s Human Resources Department. See Frazier Dep. at

  97:13-98:15.

          25.     On February 10, 2009, Frazier met with Denise DiPiano (“DiPiano”), a BBB

  Human Resources manager, and told her that he had received an email from David Rubin on

  November 4, 2008 which he found offensive. See Goldstein Decl., Ex. M (hereinafter, “DiPiano

  Dep.”) at 37:6-13.

          26.     During the February 10, 2009 meeting, DiPiano asked Frazier whether he had

  received any other emails he found to be offensive. See DiPiano Dep. at 54:17-23.

          27.     Frazier showed DiPiano an August 11, 2008 email, but the name of the sender had

  been torn off. See DiPiano Dep. at 55:18-56:3.

          28.     When DiPiano asked Frazier to tell her who had sent the email, Frazier wanted to

  know “what would happen to th[e] person” and stated that “she was a nice person and that she

  was with child.” See DiPiano Dep. at 56:22-57:6.

          29.     On February 12, 2009, two days later, Frazier emailed DiPiano the August 11,

  2008 email from Del Rey in its entirety. See DiPiano Dep. at 58:2-4; Goldstein Decl., Ex. H.

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          30.     DiPiano met with Ortiz on February 10, 2009 to discuss Plaintiff’s complaint

  regarding the Rubin email; Ortiz explained that he had spoken to Rubin about the e-mail the

  same day Frazier had complained, and that he had told Rubin not to send e-mails to BBB

  employees that were not business-related. See DiPiano Dep. at 62:24-63:13.

          31.     On February 16, 2009, DiPiano spoke to Del Rey concerning the August 11, 2008

  email, advising her that the email was inappropriate and if she sent any more inappropriate

  emails she would face more severe discipline. See DiPiano Dep. at 89:5-10, 90:12-23; Del Rey

  Dep. at 30:15-31:5.

                Frazier’s On-Call Schedule Is Changed As A Cost-Cutting Measure

          32.     Newton manages three teams of BBB database administrator employees: the

  Oracle Team, the DB2 team and the SQL team. See Goldstein Decl., Ex. O (hereinafter,

  “Newton Dep.”) at 9:8-10:11.

          33.     As a result of the economic downturn in late 2008, BBB was looking to reduce

  costs in every possible area. See Newton Dep. at 41:4-13.

          34.     In order to reduce Data Futures consulting costs, Ortiz directed Newton that going

  forward, Frazier’s on-call hours would be expanded, so that he would be on-call after hours and

  on the weekend. See Newton Dep. at 40:24-41:3.

          35.     On December 16, 2008, Newton informed Frazier of the change to his on-call

  schedule. See Goldstein Decl., Ex. W.

          36.     Previously, Frazier had been on an alternating on-call schedule with Data Futures.

  See Frazier Dep. at 120:19-23; Newton Dep. at 40:4-17.

          37.     During a February 16, 2009 meeting with Newton and Ortiz, Frazier was

  informed that he was the primary DBA for SQL, that he would be expected to return phone calls

  within a reasonable amount of time, and that although management would try to avoid after

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  hours or weekend work, there will be times when such work is required. See Goldstein Decl.,

  Ex. K.

           38.      The amount of after-hours and weekend support required by BBB from 2007

  through 2009 relative to its SQL servers was approximately one (1) to two (2) hours per month.

  See Rubin Decl., ¶ 4.

           39.      Rubin did not notice any material change in the amount of after-hours and

  weekend support required by BBB relative to its SQL servers from 2008 to 2009. See Rubin

  Decl., ¶ 5.

           40.      Frazier’s predecessor, Jim Hill, had been on-call for all after hours and weekend

  support. See Newton Dep. at 35:19-36:15, 39:1-12.

           41.      Frazier’s immediate replacement, Bong Kim, was on-call for all after hours and

  weekend support. See Newton Dep. at 132:14-20.

           42.      The Oracle team had several members who alternated being on-call after hours

  and weekends. See Newton Dep. at 10:15-20, 43:3-16.

           43.      The DB2 team had one member who was responsible for all after hours and

  weekend support. See Newton Dep. at 132:1-13.

                 Frazier’s SQL 2008 Training Class Is Cancelled By An Outside Vendor

           44.      Frazier was asked by Ortiz to perform an SQL 2008 installation upgrade. See

  Frazier Dep. at 131:12-132:9.

           45.      BBB enrolled Frazier in a training class relative to SQL server 2008 that was to

  be provided by an outside vendor. See Frazier Dep. at 132:10-20.

           46.      The vendor cancelled a number of the scheduled training sessions, and BBB told

  Frazier that it was going to find a different vendor for the training. See Frazier Dep. at

  132:21-133:14.

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          47.     Frazier was able to complete the SQL 2008 installation upgrade assignment

  without the training within the time allotted. See Frazier Dep. at 132:6-9.

          48.     On his 2009 performance review, Frazier was praised for his success completing

  the creation of SQL 2008 server environments “without any training or experience using SQL

  Server 2008.” See Goldstein Decl., Ex. L.

          49.     On February 12, 2009, Frazier complained to DiPiano that he had been retaliated

  against by being asked to perform the SQL 2008 installation upgrade without having been

  provided training. See DiPiano Dep. at 65:3-18.

          50.     During a February 16, 2009 meeting with Newton and Ortiz, Frazier was

  informed that he would be given time to learn new products and would be given the proper tools

  to support those products before they entered production. See Goldstein Decl., Ex. K.

          51.     On February 21, 2009, Frazier filed a charge of discrimination with the EEOC

  alleging race discrimination. See Goldstein Decl., Ex. J.

                              Frazier’s May 2009 Review and Termination

          52.     On May 8, 2008, Frazier received his first BBB annual performance review from

  Newton. See Goldstein Decl., Ex. G.

          53.     The 2008 Review was an “ME+” or “Meets Expectations+” Review. See

  Goldstein Decl., Ex. G.

          54.     On May 8, 2009, Frazier received his second BBB annual performance review

  (the “2009 Review”) from Newton. See Goldstein Decl., Ex. L.

          55.     The 2009 Review was an “ME” or “Meets Expectations” Review. See Goldstein

  Decl., Ex. L.




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          56.     During the May 8, 2009 review meeting, Frazier learned that he would be

  receiving a salary increase as a result of his overall rating in the 2009 Review. See Frazier Dep.

  at 171:1-6.

          57.     During the May 8, 2009 review meeting, Frazier refused to sign the 2009 Review.

  See Frazier Dep. at 167:15-18.

          58.     During the May 8, 2009 review meeting, Frazier asked Newton “how can a man

  of faith be lying … on my review.” See Newton Dep. at 84:14-85:12.

          59.     During the May 8, 2009 review meeting, Frazier stood up, raised his voice, and

  said “You’re a liar.” See Newton Dep. at 85:21-86:1.

          60.     During the May 8, 2009 review meeting, Frazier “ran out of the room.” See

  Newton Dep. at 84:14-85:12.

          61.     At approximately 8:30 a.m. on May 11, 2009, Newton spoke to Frazier and they

  agreed to continue discussing the 2009 Review. See Newton Dep. at 113:5-6.

          62.     At approximately 8:40 a.m. on May 11, 2009, Frazier came to Newton’s cube,

  told Newton that he didn’t want to continue the review and, in a very loud voice, repeatedly

  screamed that Newton was a liar. See Newton Dep. at 114:2-15, 115:12-22.

          63.     Noren Shah, an employee of BBB’s Information Technology department who

  worked in the same cluster of cubicles as Frazier and Newton, saw Frazier stand in the middle of

  the room and heard him scream in the direction of Newton’s desk. See Goldstein Decl., Ex. T at

  11:16-12:13-15.

          64.     Connie Van Dyke is BBB’s Vice President of Human Resources (“Van Dyke”).

  See Goldstein Decl., Ex. P (hereinafter, “Van Dyke Dep.”) at 5:8-12.




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          65.     After learning of Frazier’s May 8 and May 11 conduct from Newton, DePrima

  consulted with Van Dyke and they decided that DePrima should have a meeting with Frazier and

  Newton to discuss what had occurred. See Van Dyke Dep. at 21:10-17.

          66.     DePrima and Van Dyke decided that if Frazier admitted to the conduct reported

  by Newton, he would be terminated. See Van Dyke Dep. at 21:18-20.

          67.     During the May 11, 2009 meeting, Frazier admitted that he had said to Newton

  that Newton had lied on the review and that he had refused to complete the review. See DePrima

  Dep. at 65:21-66:6.

          68.     On May 11, 2009, Frazier was terminated during a meeting with Gary Newton

  and Paul DePrima (“DePrima”), BBB’s Director of Corporate Human Resources. See Frazier

  Dep. at 169:8-9.

          69.     Frazier was terminated because of his behavior on May 8, 2009 and May 11,

  2009, namely calling Newton a liar and refusing to finish his 2009 Review. See DePrima Dep. at

  62:3-9; DePrima Decl., ¶ 6.

          70.     During the May 11, 2009 meeting, Frazier took notes on the back of DePrima’s

  business card after asking DePrima the reason for his termination. See DePrima Dep. at 62:14-

  25, 63:11-16.

          71.     Frazier took the business card with him when he left the May 11, 2009

  termination meeting. See DePrima Dep. at 73:24-74:2.

          72.     Frazier admitted that he knew he was going to be fired before the May 11, 2009

  meeting because he had already taken several of his personal possessions home. See DePrima

  Dep. at 43:4-9.




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                            Frazier Creates A Forgery Of The Rubin Email

           73.    On September 3, 2009, Frazier’s attorney, Thomas McKinney, Esq., sent a

  demand letter to BBB. See Goldstein Decl., Ex. E.

           74.    The September 3, 2009 demand letter stated that Frazier had received an email

  from a co-worker with the caption “DEAD NiGGa” and referenced the November 4, 2008 Rubin

  email. See Goldstein Decl., Ex. E.

           75.    The November 4, 2008 email sent to Frazier by Rubin did not contain the words

  “DEAD NiGGa.” See Goldstein Decl., Ex. I.

           76.    On August 24, 2009, Frazier sent Thomas McKinney a forgery of the

  November 4, 2008 email to which term “DEAD NiGGa” had been added. See Goldstein Decl.,

  Ex. V.

           77.    Frazier testified (i) that he was “not sure how th[e] caption [DEAD NiGGa] got

  there,” (ii) that he forwarded the email for “safekeeping” to his “mother … aunt … cousin [and]

  some friends,” (iii) that when McKinney “asked for [the email,] [Frazier] did not have a

  copy …,” (iv) that “when [one of the people he sent the email to for safekeeping] forwarded it

  back to [him] that’s when [he] noticed that it had that caption on it,” and (v) that he forwarded it

  to Thomas McKinney anyway. See Frazier Dep. at 22:7-32:10.

           78.    In discovery, Frazier did not produce any emails demonstrating his purported

  transmission of the Rubin email to his family members and/or friends.

       Frazier Lied On His Interrogatory Responses to Conceal His Prior EEOC Charges

           79.    Defendants served Frazier with Interrogatories on or about May 2, 2011. See

  Goldstein Decl., Ex. C.

           80.    Interrogatory No. 6 of Defendants’ May 2, 2011 Interrogatories requested that

  Frazier “identify any civil or criminal action, lawsuit, charge, arbitration or other proceeding in

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  which Plaintiff has been a plaintiff, defendant or other party since January 1, 2000.” See

  Goldstein Decl., Ex. C, p. 8.

           81.    In his certified responses dated June 24, 2011, Frazier responded to Interrogatory

  No. 6 of Defendants’ May 2, 2011 Interrogatories by stating: “Without waiving this objection,

  Plaintiff has not been a party to any other criminal or civil action or legal proceeding.” See

  Goldstein Decl., Ex. D, p. 4-5.

           82.    On July 23, 2007, Frazier filed an EEOC Charge of Discrimination against

  Sterling Testing Systems, a former employer, alleging discrimination. See Goldstein Decl.,

  Ex. F.

           83.    On January 25, 2011, Frazier filed an EEOC Charge of Discrimination against

  Fusionstorm, a subsequent employer, alleging discrimination and retaliation. See Goldstein

  Decl., Ex. U.

                                                     Respectfully Submitted,


                                                     PROSKAUER ROSE LLP

  Dated: September 7, 2012                           By:    s/ Marvin M. Goldstein
                                                           Marvin M. Goldstein

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